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                                EXHIBIT E
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                                                                                U.S. District Court — Judicial Caseload Profile
ILLINOIS NORTHERN                                                                           12-Month Periods Ending

                                                                 Jun 30          Jun 30              Jun 30         Jun 30               Jun 30           Jun 30
                                                                  2017            2018                2019           2020                 2021             2022                      Numerical
                                                                                                                                                                                     Standing
                                    Filings ¹                        11,238          10,491            10,068             9,556             9,198            8,122                    Within
                                 Terminations                        11,276          11,009            10,443            10,536           12,102             8,773               U.S.       Circuit
    Overall
   Caseload                         Pending                          17,480          16,981            16,611            15,671           12,768           12,044
   Statistics            Percent Change in Total
                           Filings Current Year
                            Over Earlier Year                         -27.7           -22.6                -19.3          -15.0             -11.7                                61              3
                                    Number of Judgeships                   22              22                22             22                  22               22
                            Vacant Judgeship Months ²                  12.2               29.9              49.7           37.4              36.0               12.0
                                             Total                     511                477               458            434               418                369              63              7
                                             Civil                     469                436               404            394               363                332              32              5
                                             Criminal
                          Filings                                                                                                                                                91              7
                                             Felony                        34              33                45             30                  43               25
                                             Supervised
   Actions                                   Release
per Judgeship                                Hearings                      7                8                 9             11                  12               13              79              6
                               Pending Cases ²                         795                772               755            712               580                547              34              4
                              Weighted Filings ²                       461                444               433            415               418                366              53              5
                                 Terminations                          513                500               475            479               550                399              64              7
                              Trials Completed                             10              11                 9                 6                 6                8             87              6
                                             Criminal
                      From Filing to         Felony                    19.3               16.9              19.8           15.1              22.0               22.9             90              7
   Median              Disposition
                                             Civil ²                    8.2                7.5               7.6           11.2              14.2                7.2             14              1
Time (Months)
                           From Filing to Trial ²
                               (Civil Only)                            40.0               36.3              36.7           41.3              48.1               48.9             55              7
                              Number (and %)
                               of Civil Cases                         1,467           2,957                5,433          4,345             1,726            2,126
                              Over 3 Years Old ²                        9.4            19.5                 37.5           32.2              16.7             21.7               77              6
                             Average Number
                          of Felony Defendants
     Other                    Filed per Case                            1.4                1.4               1.3            1.4               1.3                1.4
                                 Avg. Present for
                                 Jury Selection                        49.2               50.1              49.1           48.8              77.6            103.4
                     Jurors      Percent Not
                                 Selected or
                                 Challenged                            41.6               38.4              43.4           44.3              61.1               70.8

                                      2022 Civil Case and Criminal Felony Defendant Filings by Nature of Suit and Offense

      Type of            Total          A              B         C              D                E            F             G               H               I          J         K           L
        Civil              7,299            438            185       862             6               45            699          754             631         1,085          998        48     1,548
     Criminal ¹               546               5          114        30            149              115           41               17                -          21         2           3            49

NOTE: Criminal data in this profile count defendants rather than cases and therefore will not match previously published numbers.
¹ Filings in the "Overall Caseload Statistics" section include criminal transfers, while filings by "Nature of Offense" do not.
² See "Explanation of Selected Terms."
